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                  EXHIBIT 1
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                4    Telephone: (949) 252-9990
                     Fax: (949) 252-9991
                5
                     Attorneys of Record for Plaintiff, MCKAYLA MARONEY, an
                6    individual

                7

                8                                 UNITED STATES DISTRICT COURT

                9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

                10

                11
s°                    MCKAYLA MARONEY, an individual.                   Civil Case No. 2:18:cv-03461-JLS-KESx

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           c                         Plaintiff,                         [The Honorable Josephine L Staton]
►->K>VO
fa     n
           ?; 13                                                        NOTICE OF TAKING DEPOSITION OF
     ?.2                     V.
                                                                        STEVE PENNY AND REQUEST FOR
                14
                      MICfflGAN STATE UNIVERSITY, a                     PRODUCTION OF DOCUMENTS
fa fl U c
His^ . c        15
                      Michigan Entity of Forni Unknown; and
so „ o c              UNITED STATES OLYMPIC COMMITTEE, (JURISDICTIONAL DISCOVERY)
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s>^ •= 16             a Business Entity of form unknown; USA
Z®         h          GYMNASTICS, an Indiana Business Entity of
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                17
                     Form Unknown; LARRY NASSAU, an                     Date:       August 9,2018
                      individual and DOES 1 through 500.
                                                                        Time:       10:00 a.m.
                18                                                      Location:   Robie & Matthai
                                     Defendants.
                                                                                    500 South Grand Ave.
                19                                                                  Suite 1500
                                                                                    Los Angeles, CA 90071
                20                                                                  213-706-8000

                21

                22          TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

                23          PLEASE TAKE NOTICE that at 10:00 a.m., on August 9, 2018, at Robie & Matthai,
                24   500 South Grand Ave., Suite 1500, Los Angeles, CA 90071, 213-706-8000, Plaintiff McKAYLA
                25   MARONEY ("Plaintiff') will take the oral deposition of STEVE PENNY regarding jurisdictional
                26   matters and demand production of the following documents contained in the attachment hereto. If
                27   for any reason the taking of such deposition is not completed on the date scheduled, said deposition
                28




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               1    shall continue, day-to-day, Sundays and holidays excepted, until completed, or will be continued
               2    to such other dates and times as shall be designated by the party noticing the deposition.

               3           Iffor any reason the taking ofsuch deposition is not completed on the date scheduled, said
               4    deposition shall continue, day-to-day, Sundays and holidays excepted, until completed, or will be
               5    continued to such other dates and times as shall be designated by the party noticing the deposition.
               6           PLEASE TAKE FURTHER NOTICE that if an interpreter is required to translate
               7    testimony, notice ofsame must be given to this noticing party at least five(5) working days prior
               8    to the deposition date, and the specific language and/or dialect thereof designated.
               9           PLEASE TAKE FURTHER NOTICE that pursuant to Code ofCivil Procedure section
               10   2025(d)(5) and (d)(6). Plaintiff reserves the right to record the deposition testimony of the
               11   deponent by audio tape and/or videotape in addition to recording the testimony by stenographic
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               12   method.
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               13          FURTHERMORE,said deponent is expected to produce the documents set out in the
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  sIS
^§•2           14   attached document request.
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     .    S 15      Dated: July 20,2018                                  MANLY,STEWART & FINALDI
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S2             17                                                By:
                                                                         VINCE W.FINALDI,Esq.
               18                                                        Attorneys for Plaintiffs

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                 1                                  DEFINITIONS AND INSTRUCTIONS

                 2            1.        The term "ANY" shall mean any and all.

                 3            2.        The term "ALL" shall mean any and all.

                 4            3.        The terms "YOU", "YOUR", or "STEVE PENNY" shall mean the Responding

                 5    Party to the present set of requests for production. Defendant STEVE PENNY.
                 6            4.        The terms "DOCUMENT" and "DOCUMENTS" shall mean any and all manner

                 7    of written, typed, printed, reproduced, filmed, ESI, OR recorded material and all photographs,
                 8    pictures, plans, or other representations of any kind of anything pertaining, describing, referring,
                 9    or relating, directly or indirectly, in whole or in part, to the subject matter of each discovery request
                 10   and the term includes, but is not limited to: papers, books, journals, ledgers, statements, bank

1«0              11   statements, property title reports, title records, recording of title, memoranda, reports, invoices,
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                 12   work sheets, work papers, notes, transcriptions of notes, letters, correspondence, abstracts, checks,
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«0 « -           13   diagrams, plans, blueprints, schematics, software programs, films, photographs, diaries, lists, logs,
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<g®         S 14      publications, advertisements, instructions, minutes, orders, purchase orders, messages, resumes,
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            c 15      applications, summaries, agreements, contracts, telegrams, e-mails, instant messages, text
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            ^ 16      messages, telexes, cables, recordings, audio tapes, magnetic tapes, visual tapes, transcriptions of
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                 17   tapes or records, computer tapes, books, speeches, pamphlets, leaflets, flyers, announcements,
                 18   bulletins, periodicals, agenda, reports, opinions, charts, tabulations, digests, compilations, studies,
                 19   expert analyses, evaluations, manuals, guides, research papers, articles, computer files, computer
                 20   hard drives, or other writings or tangible things as defined by Section 250 of the Evidence Code,
                 21   in the possession, custody or control of YOU, YOUR attomeys, agents, servants, representatives,
                 22   investigators, subsidiaries, boards, directors, affiliated business entities and others who have
                 23   obtained possession, custody or control.
                 24           5.        The term "Policies" shall mean policies, procedures, rules, standards, regulations,

                 25   and guidelines.
                 26          6.      The term "Member Club" shall refer to the local gyms and/or organizations that are

                 27   affiliated with USAG.

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                         7.       The term "USAG Member Gymnasts" shall refer to a participant who is affiliated
                  with USAG.

                         8.       The term"USAG Member Staff'shall refer to the coaches,staff, and/or gymnastics

                  personnel who are affiliated with USAG.
             5           9.       The term "USAG"shall refer to Defendant USA Gymnastics.
             6                                 REQUESTS FOR PRODUCTION:

             7           Plaintiff hereby requests that you produce the following documents in your possession,
             8    custody or control:

             9    REQUEST FOR PRODUCTION NO.1:

             10          Produce ALL DOCUMENTS evidencing YOUR involvement in gymnastics events in
             11   Califomia, from 1994 through 2015.
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<—fO O-      12   REQUEST FOR PRODUCTION NO.2;
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             13          Produce ALL DOCUMENTS evidencing YOUR communications with anyone regarding
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cg«2o- 14         DOCUMENTS located at the Karolyi Ranch(USA Gymnastics National Training Center)that
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             15   relate to Nassar, the medical treatment of gymnasts, or gymnasts training there, which Rhonda
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             16   Faehn testified were removed by Amy White and brought back to Indiana.
S2           17   REQUEST FOR PRODUCTION NO.3;

             18          Produce ALL DOCUMENTS evidencing income obtained from sources in Califomia,
             19   from 1994-2015.

             20   REQUEST FOR PRODUCTION NO.4;

             21          Produce ALL DOCUMENTS evidencing monies received from JANE ID DOE,ALY
             22   RAISMAN,JORDYN WIEBER,MCKAYLA MARONEY or JANE LM DOE from 1994

             23   through 2015.
             24   REQUEST FOR PRODUCTION NO.5;

             25          Produce ALL DOCUMENTS evidencing meetings held in Califomia, from 1994 through
             26   2015, regarding USAG business.
             27

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            1    REQUEST FOR PRODUCTION NO.6:

            2           Produce ALL DOCUMENTS evidencing meetings held in California, from 2004 through

            3    2015,regarding USAG business.
            4    REQUEST FOR PRODUCTION NO.7;

            5           Produce ALL DOCUMENTS evidencing USAG sanctioned events attended by YOU in

            6    California, from 2004 through 2015.

            7    REQUEST FOR PRODUCTION NO.8:

            8           Produce ALL DOCUMENTS evidencing Regional USAG meetings attended by YOU in

            9    California, from 1994 through 2015.

            10   REQUEST FOR PRODUCTION NO.9:

            11         Produce ALL DOCUMENTS evidencing USA sanctioned events held in California
Q

            12   between 1994 and 2015.
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fa
            13   REQUEST FOR PRODUCTION NO.10:

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•<     0>   14         Produce ALL DOCUMENTS evidencing payment for YOUR lodging while staying in
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            15   California for gymnastics events,from 1994 through 2015.
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       I 16 REQUEST FOR PRODUCTION NO.11:
22          17         Produce ALL DOCUMENTS evidencing real estate you or USAG owned or leased in

            18   California from 1994-2015.

            19   REQUEST FOR PRODUCTION NO.12:

            20         Produce ALL DOCUMENTS evidencing any business licenses YOU or USAG held in

            21   California from 1994-2015.

            22   REQUEST FOR PRODUCTION NO.13:

            23         Produce ALL photographs of YOU at USAG sanctioned competitions in Califomia,from
            24   1994 through 2015.
            25   REQUEST FOR PRODUCTION NO.14:.

            26         Produce ALL photographs of YOU at USAG fundraisers in Califomia, from 1994
            27   through 2015.
            28


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              1    REQUEST FOR PRODUCTION NO. 15:

              2           Produce ALL DOCUMENTS concerning your request to testify, and testimony, before
              3    Congress in 2018 related to USA Gymnastics.
              4    REQUEST FOR PRODUCTION NO. 16:

              5           Produce ALL photographs of YOU at USAG promotional events in Califomia, from
              6    1994 through 2015.
              7    REQUEST FOR PRODUCTION NO. 17:

              8           Produce ALL memoranda evidencing USAG's strategies for growing the organization in
              9    Califomia from 1994-2015.

              10   REQUEST FOR PRODUCTION NO. 18:

              11          Produce ALL photographs of YOU and Jane JD Doe, Jane LM Doe, ALY RAISMAN,
^oo

              12   JORDYNWIEBER,orMCKAYLAMARONEY.
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     « Hi
            S 13   REQUEST FOR PRODUCTION NO. 19:
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            5 14          Produce ALL DOCUMENTS evidencing your communications with JD Doe, LM Doe,
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       .
            i 15   ALY RAISMAN, JORDYNWIEBER,MCKAYLAMARONEY or their parents.
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            I 16 REQUEST FOR PRODUCTION NO. 20:
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►J    J:
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S2            17          Produce ALL DOCUMENTS evidencing recruitment events for USAG attended by YOU

              18   in California from 2004 through 2012.
              19   REQUEST FOR PRODUCTION NO. 21:

              20          Produce ANY and ALL CORRESPONDENCE between YOU or YOUR representatives

              21   and ANY United States Legislators or their representatives.
              22   REQUEST FOR PRODUCTION NO. 22;

              23          Produce ANY and ALL DOCUMENTS evidencing YOUR or USAG's attendance at the
              24   mediation of the MCKAYLA MARONEY matter before Judge Michael A. Latin (Ret.) in 2016

              25   or 2017.

              26   REQUEST FOR PRODUCTION NO. 22:

              27          Produce ANY and ALL DOCUMENTS evidencing Amy White's removal of documents
              28   from the Karolyi Ranch (USA Gymnastics National Training Center) at any time, including


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                    those for expenses such as meals,taxis, rental cars, airline tickets, suitcase purchases, gas, food,
                    and the like.




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                                                      CERTIFICATE OF SERVICE


                             I am a resident ofthe State of California, over the age ofeighteen years, and
                      not a party to the within action. My business address is Manly, Stewart & Finaldi, 19100 Von
                      Karman Ave., Suite 800, Irvine, CA 92612.

                             On July 20,2018,1 served the within documents:

                           1)  NOTICE OF TAKING DEPOSITION OF STEVE PENNY AND REQUEST
                      FOR PRODUCTION OF DOCUMENTS(JURISDICTIONAL DISCOVERY)

                             \X]     BY U.S. MAIL
                            []       I deposited the sealed envelope with the United States Postal Service, with the
                             postage fully prepaid.
                             pC] I placed the envelope for collection and mailing,following our ordinary business
                             practices. I am readily familiar with this business's practice for collecting and processing
                             correspondence for mailing. On the same day that correspondence is placed for
                             collection and mailing, it is deposited in the ordinary course of business with the United
                 10
                             States Postal Service, in a sealed envelope with postage fully prepaid.
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                 12          FEDERAL -1 certify under penalty of perjury under the law ofthe United States of
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                      America that the foregoing is true and correct.
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                             Executed on July 20,2018, at Irvine, California.
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                                                       SERVICE LIST
                                      McKavla Maronev v. Michigan State University, et al.
                                          USDC. Case No. 2:18-cv-03461-CAS-AFM



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        c        Facsimile: + 1 424-332-4749
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            20   Fax:415-591-6091
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                      Attorneys for Defendants USA GYMNASTICS,an Indiana business entity ofform unknovvn



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Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 128 of 167 Page ID
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Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 129 of 167 Page ID
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Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 136 of 167 Page ID
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                                    #:381




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Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 160 of 167 Page ID
                                    #:382

  From:                 John Manly
  To:                   Jolley, David
  Cc:                   Vince Finaldi; Alex Cunny; frederiksen@manlystewart.com; Rachyl Boer; Kamin, Mitchell A; Kubota, Carolyn;
                        Chen, Mark Y
  Subject:              Re: USOC/Nassar Cases - Federal Court - Request for Deposition Dates
  Date:                 Monday, July 30, 2018 7:05:13 PM


  See you in Court.

  On Jul 30, 2018, at 6:15 PM, Jolley, David <djolley@cov.com> wrote:


          Mr. Finaldi,

          Thank you for your response. As a result, we will be seeking relief tomorrow
          from the district courts.

          Regards,


          David Jolley
          Covington & Burling LLP
          One Front Street, San Francisco, CA 94111-5356
          T +1 415 591 7079 | djolley@cov.com
          www.cov.com

          <image002.jpg>




          From: Vince Finaldi <vfinaldi@manlystewart.com>
          Sent: Monday, July 30, 2018 10:13 AM
          To: Jolley, David <djolley@cov.com>
          Cc: Alex Cunny <acunny@manlystewart.com>; John Manly
          <jmanly@manlystewart.com>; frederiksen@manlystewart.com; Rachyl Boer
          <rboer@manlystewart.com>; Kamin, Mitchell A <MKamin@cov.com>; Kubota, Carolyn
          <ckubota@cov.com>; Chen, Mark Y <MYChen@cov.com>
          Subject: RE: USOC/Nassar Cases - Federal Court - Request for Deposition Dates

          Mr. Jolley,

          Do you have a response?

          Now that I am back in the office, I would like to follow up on my points from last week
          with some law on the issue. First, your letter claims that, pursuant Rule 26(d)(1), there
          must be a court order or stipulation before jurisdictional discovery can proceed.
          Effectively, that since there has yet to be Rule 26(f) conference, there can be no
          jurisdictional discovery, absent a court order. (Letter, p. 1). The law states otherwise:
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       “First, there is authority that “[n]o Rule 26(f) [conference], discovery plan or status
       conference is required in order to conduct discovery for the jurisdictional inquiry.”
       Myhre v. Seventh-Day Adventist Church Reform Movement American Union Intern.
       Missionary Soc. (S.D. Cal. 2014) 298 F.R.D. 633, 639(citing Cannon v. Fortis Ins. Co., No.
       CIV–07–1145–F, 2007 WL 4246000, at *3, 2007 U.S. Dist. LEXIS 87880, at *8 (W.D.Okla.
       Nov. 29, 2007).) The case of Cannon discusses this issue much further, and ultimately
       holds that, “It appears to the court that the discovery time requests is limited to the
       jurisdictional inquiry. No Rule 26(f), discovery plan or status conference is required in
       order to conduct discovery for the jurisdictional inquiry. The court shall therefore
       permit Time, as well as HAA (having adopted Time's motion), to conduct the discovery
       requested by Time in its motion. Both parties shall be given the requested forty-five
       days to complete the discovery.” Ultimately, however, we are talking about two sides
       of the same coin. Below will further explain why we chose to serve discovery, instead of
       filing a motion. The case of Orchid Biosciences, Inc. v. St. Louis University (S.D. Cal.
       2001) 198 F.R.D. 670, 672 further solidifies this point, as discovery was served, and a
       motion was filed for protective order; without any concern for no Rule 26(f)
       conference.

       My second point relates to the facts. Your letter essentially reiterates your Motion to
       Dismiss’ sentiment regarding general and specific jurisdiction. While you may find that
       argument convincing, regarding a federally-chartered corporation responsible for
       Olympic (and high-level competition) throughout the United States, we don’t. The
       USOC challenges both General and Specific Jurisdiction, despite the fact that it has held
       competitions in the state of California, is currently working on hosting the 2024
       Olympics in California, derives income from California, derives athletes from California,
       and even operated an Olympic Training Center in the State of California for about two
       decades. Regardless, the USOC has held Olympics, Olympic Trials, and Pan American
       games in the state of California. This is more than sufficient to be “colorable” showing
       to get jurisdictional discovery. And I suppose we will just have to agree to disagree on
       the point.

       My third point relates to the procedural circumstances. You are correct in stating that
       we were planning on filing a Motion for Jurisdictional Discovery, based on our July 13,
       2018 call. However, upon receiving your Motions, we say that you had set hearings for
       the Motions in September, affording little to no time for a jurisdictional discovery
       motion to be filed, heard, and then discovery conducted, once it was granted, prior to
       the Motion. Since that time, we have pushed the Motions to Dismiss out a few weeks.
       Secondarily, as you well know, the Coordinated Matter in Orange County is proceeding,
       and jurisdictional depositions are proceeding, which pertain to witnesses who we
       would have wanted to depose in the Federal Matters as well. Instead of attempting to
       get a second (or possibly even third, fourth, fifth or sixth) deposition of those
       individuals (Mr. Penny and Ms. Scanlan, along with several others), we decided it only
       made sense to notice in the Federal Action to ensure proper notice was given to all
       parties for this time sensitive issue. As the procedure played out, we needed to serve
       written discovery and get depositions set expediently to have it prior to our opposition
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       dates. Prior to our moving the opposition deadlines today via stipulation, our written
       discovery responses would have been due the day our oppositions were due.

       My final point is that your client is not the only defendant in these cases. Some of the
       defendants in these actions have submitted to jurisdiction. Others have agreed to
       produce themselves for deposition—see Mr. Penny, for example. We have made
       arrangements with the schedules of many lawyers and just because your client is
       attempting to shirk its liability through a jurisdictional gambit does not mean these
       other portions of the cases are stayed.

       Hopefully this explains our position, informs you of how we ended up here, and
       explains why this discovery will be proceeding despite your unilateral orders to the
       contrary.

       Thank you,

       Vince William Finaldi, Esq.
       MANLY, STEWART & FINALDI
       19100 Von Karman Avenue, Suite 800
       Irvine, California 92612
       Phone: (949) 252-9990
       Direct: (949) 943-8423
       Fax: (949) 252-9991
       vfinaldi@manlystewart.com
       <image001.jpg>
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       From: Vince Finaldi
       Sent: Friday, July 27, 2018 6:28 PM
       To: Jolley, David <djolley@cov.com>
       Cc: Alex Cunny <acunny@manlystewart.com>; John Manly
       <jmanly@manlystewart.com>; frederiksen@manlystewart.com; Rachyl Boer
       <rboer@manlystewart.com>; Kamin, Mitchell A <MKamin@cov.com>; Kubota, Carolyn
       <ckubota@cov.com>; Chen, Mark Y <MYChen@cov.com>
       Subject: Re: USOC/Nassar Cases - Federal Court - Request for Deposition Dates

       Those depos are going forward.

       Vince William Finaldi, Esq.
       MANLY, STEWART & FINALDI
       19100 Von Karman Ave. Ste. 800
       Irvine, CA 92613
       P (949) 252-9990
Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 163 of 167 Page ID
                                    #:385

       F (949) 252-9991
       vfinaldi@manlystewart.com

       On Jul 27, 2018, at 5:01 PM, Jolley, David <djolley@cov.com> wrote:

            We are concerned with all of the depositions to the extent they have
            been noticed in the federal court actions without prior leave of court.
            This includes the deposition for Kathy Scanlan noticed for August 6 and
            the deposition of Steve Penny noticed for August 9, insofar as those two
            depositions have been separately noticed in the federal actions. The
            deposition notices issued in the federal actions need to be withdrawn.

            USOC is not a party to the state court action in Orange County.

            David Jolley

            Covington & Burling LLP
            One Front Street, San Francisco, CA 94111-5356
            T +1 415 591 7079 | djolley@cov.com
            www.cov.com

            <image001.jpg>




            From: Vince Finaldi <vfinaldi@manlystewart.com>
            Sent: Friday, July 27, 2018 4:39 PM
            To: Jolley, David <djolley@cov.com>
            Cc: Alex Cunny <acunny@manlystewart.com>; John Manly
            <jmanly@manlystewart.com>; frederiksen@manlystewart.com; Rachyl
            Boer <rboer@manlystewart.com>; Kamin, Mitchell A
            <MKamin@cov.com>; Kubota, Carolyn <ckubota@cov.com>; Chen, Mark
            Y <MYChen@cov.com>
            Subject: Re: USOC/Nassar Cases - Federal Court - Request for Deposition
            Dates

            Ok but one deposition is of Steve Penny-they agreed to produce him
            and he is noticed in multiple cases. That one must proceed. Which
            others are at issue under the scope you provided? Sorry I am not at
            my desk presently.

            Vince William Finaldi, Esq.
            MANLY, STEWART & FINALDI
            19100 Von Karman Ave. Ste. 800
            Irvine, CA 92613
            P (949) 252-9990
            F (949) 252-9991
            vfinaldi@manlystewart.com

            On Jul 27, 2018, at 4:24 PM, Jolley, David <djolley@cov.com>
Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 164 of 167 Page ID
                                    #:386

            wrote:

                 Vince,

                 We can wait until Wednesday morning to file our motion to
                 give you time to discuss and respond. The problem is that
                 there are depositions noticed in the federal cases as early as
                 August 6. If we wait any longer than Wednesday, the courts
                 won't have time to rule on the motion to quash/for
                 protective order. One alternative if you need more time
                 would be to push back or take off calendar any deposition
                 set for August 10 or earlier. That would allow everyone
                 more time to get instructions from the court.

                 In any event, we will wait until Wednesday to file our
                 motions. We can wait longer if you let us know that the
                 depositions set for the following week are withdrawn or
                 continued.

                 Regards,
                 David.


                 From: Vince Finaldi <vfinaldi@manlystewart.com>
                 Sent: Friday, July 27, 2018 3:32 PM
                 To: Jolley, David <djolley@cov.com>; Alex Cunny
                 <acunny@manlystewart.com>
                 Cc: John Manly <jmanly@manlystewart.com>;
                 frederiksen@manlystewart.com; Rachyl Boer
                 <rboer@manlystewart.com>; Kamin, Mitchell A
                 <MKamin@cov.com>; Kubota, Carolyn <ckubota@cov.com>;
                 Chen, Mark Y <MYChen@cov.com>
                 Subject: RE: USOC/Nassar Cases - Federal Court - Request
                 for Deposition Dates

                 Received. Can you give us until Wednesday morning to
                 discuss and respond? Monday is too soon. Lots of moving
                 parts here. Thanks.

                 Vince William Finaldi, Esq.
                 MANLY, STEWART & FINALDI
                 19100 Von Karman Avenue, Suite 800
                 Irvine, California 92612
                 Phone: (949) 252-9990
                 Direct: (949) 943-8423
                 Fax: (949) 252-9991
                 vfinaldi@manlystewart.com
Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 165 of 167 Page ID
                                    #:387

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                 From: Jolley, David [mailto:djolley@cov.com]
                 Sent: Friday, July 27, 2018 3:19 PM
                 To: Alex Cunny <acunny@manlystewart.com>
                 Cc: John Manly <jmanly@manlystewart.com>; Vince Finaldi
                 <vfinaldi@manlystewart.com>;
                 frederiksen@manlystewart.com; Rachyl Boer
                 <rboer@manlystewart.com>; Kamin, Mitchell A
                 <MKamin@cov.com>; Kubota, Carolyn <ckubota@cov.com>;
                 Chen, Mark Y <MYChen@cov.com>
                 Subject: RE: USOC/Nassar Cases - Federal Court - Request
                 for Deposition Dates

                 Counsel,

                 Please see the attached responsive letter.


                 David Jolley

                 Covington & Burling LLP
                 One Front Street, San Francisco, CA 94111-5356
                 T +1 415 591 7079 | djolley@cov.com
                 www.cov.com

                 <image002.jpg>




                 From: Alex Cunny <acunny@manlystewart.com>
                 Date: July 25, 2018 at 7:39:19 AM PDT
                 To: "MYChen@cov.com" <MYChen@cov.com>,
                 "MKamin@cov.com" <MKamin@cov.com>,
                 "ckubota@cov.com" <ckubota@cov.com>
                 Cc: John Manly <jmanly@manlystewart.com>, Vince
                 Finaldi <vfinaldi@manlystewart.com>, Kathy
                 Frederiksen <kfrederiksen@manlystewart.com>, Rachyl
                 Boer <rboer@manlystewart.com>
                 Subject: USOC/Nassar Cases - Federal Court -
Case 2:18-cv-03461-JLS-KES Document 30-2 Filed 07/31/18 Page 166 of 167 Page ID
                                    #:388

                 Request for Deposition Dates

                      Good morning Mark, Carolyn and Mitchell,

                      After reviewing your Motion to Dismiss, we
                      have several depositions we seek to take on
                      jurisdictional issues raised in that Motion.
                      Below, please find the names of individuals
                      we seek to depose for jurisdictional
                      purposes. Given the timing of our opposition
                      to your Motion to Dismiss, it is important to
                      obtain dates for these depositions on or prior
                      to August 15th. Thus, please provide dates
                      in this timeframe by the end of the week:

                         1.   Richard Adams**
                         2.   William Moreau**
                         3.   Larry Buendorf
                         4.   Scott Blackmun
                         5.   Walt Glover
                         6.   Lawrence Probst
                         7.   William J. Hybl
                         8.   Richard Schultz
                         9.   Jim Scherr
                        10.   Jack Swarbrick

                      As a note to the above (**), Dr. Moreau and
                      Mr. Adams were previously subpoenaed in
                      the LM matter, and were agreed to be
                      produced for deposition by USOC Counsel,
                      Brent Rychener of (I believe), Bryan Cave.

                      Moreover, Mr. Buendorf was served with a
                      deposition subpoena in the AJ case pending
                      in Superior Court, but we will need to move
                      his deposition up, again, given our
                      opposition timing.

                      Thank you,

                      Alex

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